Case 9:18-cv-80070-DMM Document 11 Entered on FLSD Docket 08/30/2018 Page 1 of 4



                               United States District Court
                               Southern District of Florida

  Joyce Palmer,                                         Case No. 9:18-cv-80070
       Plaintiff,

  vs.

  Tractor Supply Company,
       Defendant.
  _________________________________/

                                  Proposed Discovery Plan

         Plaintiff, Joyce Palmer, and Defendant, Tractor Supply Company, pursuant to Federal

  Rule of Civil Procedure Rule 26 and the Order Setting Trial and Pretrial Schedule and Referring

  Case to Mediation (“Order”), jointly file this proposed discovery plan:

         As per the Order paragraph 2:

  (1) an estimated valuation of the case from the perspective of Plaintiff and Defendant;

         Plaintiff: $750,000.00

         Defendant: $0.00

  (2) the date for exchanging initial disclosures pursuant to Rule 26(a)(1);

         October 8, 2018

  (3) the subjects on which discovery may be needed;

         Liability and damages.

  (4) whether the Parties can agree to limit discovery on particular issues through stipulation;

         The Parties anticipate stipulating as to the authenticity of business records, while

  preserving all other objections. The Parties will continue to confer through and after the

  discovery period and attempt to stipulate as to documents and matters not in dispute.




                                                   1
Case 9:18-cv-80070-DMM Document 11 Entered on FLSD Docket 08/30/2018 Page 2 of 4



  (5) what document discovery is needed;

           Any and all records relating to plans, design, building and inspection of the pathway at

  issue;

           any and all photographs and records relating site pathway, both before and after date of

  alleged incident;

           any and all documents relating to Plaintiff’s business relationship with U.S. Express;

           any all documents relating to Plaintiff’s medical records;

           any all documents relating to insurance claims or coverage by or on behalf of any party;

           any and all documents relating to prior falls or accidents on pathway in question.

  (6) whether discovery should be conducted in phases;

           There is no need for discovery to be conducted in phases.

  (7) whether the Parties expect to have disclosure, discovery, or preservation of electronically

  stored information, and if so, explain:

           It is possible that there will be electronically stored information.

           (a) the main information and documents sought;

                   E-mails, electronically filed incident reports, and medical records.

           (b) the expected costs of e-discovery; and

                   Minimal, as there will be no need for large-scale document or e-mail mining.

           (c) whether alternatives to e-discovery are possible.

                   Each party believes documents can be directly produced at minimal cost without

           reference to or use of an e-discovery system or company.




                                                      2
Case 9:18-cv-80070-DMM Document 11 Entered on FLSD Docket 08/30/2018 Page 3 of 4



  (8) what individuals each side intends to depose;

         Plaintiff: Eye-witnesses to the incident, person or persons at Tractor Supply with most

  knowledge of the incident; experts disclosed by Defendant.

         Defendant: Plaintiff, medical providers, any persons cited by plaintiff to testify as to

  present or future impairment or damages; experts disclosed by Plaintiff.

  (9) any issues about claims of privilege or of protection as trial-preparation materials, including—

  if the parties agree on a procedure to assert these claims after production—whether to ask the

  court to include their agreement in an order under Federal Rule of Evidence 502;

         Defendant and plaintiff will assert privilege as to documents prepared in anticipation of

  litigation. To the extent that trade secret or confidential material is sought in discovery, parties

  will seek an agreed-upon confidentiality order from the Court.

  (10) what changes should be made in the limitations on discovery imposed by the Federal Rules

  of Civil Procedure or the Local Rules; and

         No changes are needed.

  (11) whether early mediation or a settlement conference with a Magistrate Judge prior to the

  close of discovery would be helpful.

         Such a settlement or mediation would be useful, but only after the law of the case (Florida

  or Maryland) is determined and non-expert discovery completed.

         Respectfully submitted 30 August 2018,

  /s/ Robert Johnson                                   /s/ Michael R. Morris
  Robert Johnson                                       Michael R. Morris
  F.B.N. 472379                                        F.B.N. 70254
  Counsel for Joyce Palmer                             Counsel for Tractor Supply Company
  Sellars, Marion & Bachi, P.A.                        Morris & Morris, P.A.
  811 North Olive Avenue                               777 S. Flagler Drive, Suite 800 - West Tower
  West Palm Beach, FL 33401                            West Palm Beach, FL 33401

                                                   3
Case 9:18-cv-80070-DMM Document 11 Entered on FLSD Docket 08/30/2018 Page 4 of 4



  Telephone:   561.655.8111                Telephone:   561.838.9811
  Facsimile:   561.655.4994                Facsimile:   561.828.9351
  E-mail:      rjohnson@smb-law.com        E-mail:      michael@morris.law




                                       4
